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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LEXINGTON DIVISION

IN RE:                                                    CHAPTER 11

HDR FARMS INCORPORATED                                    CASE NO. 20-50888-GRS

                                           Debtor.

HDR FARMS INCORPORATED
LIQUIDATING TRUST,

                                          Plaintiff,
v.                                                        AP NO. 21-05166-GRS

APPLIED BOTANICS LLC f/k/a XSI USA,
LLC, et al.

                                      Defendants.


                                          AGREED ORDER

           The parties, having filed their Joint Motion to extend the deadline to explore settlement

and file a joint report as set forth in Part 3 of the Second Amended Order for Trial [ECF# 179],

and this Court having considered the agreement and having found it acceptable, ORDERS that

the parties have until August 1, 2022 to explore settlement of the within matter and file a joint

report advising that the settlement conference was held and the results thereof.



HAVE SEEN AND AGREED:

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                Copies to:

                *All Parties designated to receive electronic service




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___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                     Signed By:
                                                                     Gregory R. Schaaf
                                                                     Bankruptcy Judge
                                                                     Dated: Wednesday, July 27, 2022
                                                                     (tnw)
